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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA


VS                        4:08CR00317-01-WRW

CRAIG HAGERTY

                                 ORDER

     On August 8, 2008, the Court granted the Government’s Motion

for Examination to Determine Competency to Stand Trial (18 U.S.C.

§ 4241) and for Determination of Existence of Insanity at the

Time of Offense    (18 U.S.C. § 4242).

     The United States Marshal for the Eastern District of

Arkansas has advised the Court that Defendant has been designated

to FCI Englewood Detention Center for the examination.

Accordingly, the United States Marshal is directed to transport

Defendant to FCI Englewood Detention Center forthwith.1

     Under 18 U.S.C. § 4247(b) and (c), Defendant is committed to

the custody of the Attorney General, or his authorized

representative, for a period not to exceed thirty (30) days for a

psychiatric or psychological examination under 18 U.S.C. § 4241

and for a period not to exceed forty-five (45) days for

psychiatric or psychological examination under 18 U.S.C. § 4242.

Both time periods exclude any time consumed by transportation.



     1
      Based on 18 U.S.C. § 3161(h)(1)(H), time consumed by
transportation in excess of ten (10) days from today is presumed
unreasonable under the Speedy Trial Act.

                                    1
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        Based on 18 U.S.C. § 4247(c), the facility conducting the

examination will file a report with this Court with copies to

Defendant’s counsel and the Prosecution.

        Eleven (11) days from the date the examination report is

received by the Court and the parties, any party who requests a

hearing regarding any issues in the report or opposes the report

must file a motion for hearing or a motion in opposition,

including a concise statement of opposition to the report and

supporting authorities.

        If no motions are filed within eleven (11) days, the Court

will enter an Order adopting or rejecting the conclusions set

forth in the report, and the period of excludable delay will

end.2

        IT IS SO ORDERED this 19th day of May 2009.




                                             /s/Susan Webber Wright
                                             UNITED STATES DISTRICT JUDGE




        2
            18 U.S.C. § 3161(h)(1)(A).

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